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                              UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF NEW YORK


In re Qudian Inc. Securities Litigation             Master File No. 1:17-cv-09741-JMF




      NOTICE OF PLAINTIFFS’ MOTION FOR RECONSIDERATION OF ORDER
       DISMISSING PLAINTIFFS’ DATA BREACH CLAIMS ALLEGED IN THE
        CONSOLIDATED SECOND AMENDED CLASS ACTION COMPLAINT

       PLEASE TAKE NOTICE that as soon as the matter may be heard before the Honorable

Jesse M. Furman, United States District Judge, at the Thurgood Marshall United States

Courthouse, Courtroom 1105, 40 Foley Square New York, NY 10007, Lead Plaintiffs Alan B.

Hertz and the Alan Hertz Family 2012 Trust and additional plaintiff Darwin Sutanto

(collectively, “Plaintiffs”), through their undersigned counsel, will move this Court for an order

vacating the dismissal of Plaintiffs’ data breach claims alleged in the Consolidated Second

Amended Class Action Complaint (ECF No. 143).

       This Motion is based upon the accompanying Memorandum of Points and Authorities,

the pleadings and other filings herein, and such other written and oral argument as may be

permitted by the Court.

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                                    Respectfully submitted,

Dated: November 8, 2019             GLANCY PRONGAY & MURRAY LLP

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                                    Co-Lead Counsel for the Plaintiffs and the Class




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                                    PROOF OF SERVICE


       I, the undersigned say:

       I am not a party to the above case and am over eighteen years old.

       On November 8, 2019, I served true and correct copies of the foregoing document, by

posting the document electronically to the ECF website of the United States District Court for

the Southern District of New York, for receipt electronically by the parties listed on the Court’s

Service List.

       I affirm under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct. Executed on November 8, 2019.

                                                    s/ Joseph D. Cohen
                                                    Joseph D. Cohen
